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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION


UNITED STATES OF AMERICA                                                     PLAINTIFF

VS.                           NO. 4:14CR248-07-BSM

THOMAS McCASLIN                                                            DEFENDANT


                                        ORDER

      The Government has filed a motion for issuance of summons and for revocation of

pretrial release. (Docket entry #293) For good cause shown, the motion for issuance of

summons is GRANTED. The Clerk is directed to issue summons to Defendant Thomas

McCaslin, and forward to the United States Marshal, for appearance at a hearing before

United States Magistrate Judge Beth Deere on August 24, 2015, at 2:00 p.m. to show

cause why his pretrial release should not be revoked.

      IT IS SO ORDERED this 13th day of August, 2015.



                                         ____________________________________
                                         UNITED STATES MAGISTRATE JUDGE
